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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                                MDL No. 2570
 ___________________________________________

 This Document Relates to 46 Category 6 and 7 Cases
 (Listed in Exhibit A by Cause Number Order)
 ___________________________________________

                 COOK DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                   OMNIBUS MOTION FOR SUMMARY JUDGMENT
                    IN 46 MISCATEGORIZED NO INJURY CASES

        The Cook Defendants1 move for summary judgment with respect to the 46 cases filed by

 the plaintiffs listed in Exhibit A and ask the Court to enter judgment in those cases because the

 Categorization Forms and supporting records they submitted fail to demonstrate that any legally

 cognizable injury occurred in those cases. This motion covers a non-exhaustive list of three

 types of “no injury” cases: (1) 27 cases where the only claimed complication is tilt, which is not

 a cognizable injury under applicable case law and the Court’s categorization framework (the

 “Tilt-Only Cases”); (2) ten cases where the medical records submitted demonstrate only that the

 Plaintiff received a filter and do not support any of the claimed complications/injuries selected in

 the accompanying Case Categorization Form (the “Placement-Only Cases”); and (3) nine cases

 where the medical records demonstrate that the filter was successfully removed percutaneously

 on the first attempt without indication of any legally cognizable injury occurring while the filter




 1
       As used in this memorandum, “Cook” and “the Cook Defendants” refer to Defendants
 Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated), and William Cook
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 was in the Plaintiff’s body or in connection with the retrieval process (the “Successfully

 Removed Filter Cases”).2

                               INTRODUCTION AND SUMMARY

         The proliferation of “no injury” and “product-in-place” cases on this Court’s docket

 prompted the case categorization and screening measures ordered by the Court last year.

 Pursuant to the Court’s October 2, 2018 Case Categorization and Screening Order (Dkt. 9322),

 Plaintiffs categorized their cases in the seven categories created by the Court. In some cases,

 however, the medical record(s) submitted in support of the chosen categorization offer no

 support for the claim made. By this Motion, Cook draws the Court’s attention to the issue of

 miscategorized “no injury” cases and asks the Court to dismiss these cases as part of a larger

 effort to cull this MDL of procedurally and/or substantively meritless claims.

         The 46 cases here are cases in which there is no cognizable injury, whether measured by

 operation of the Court’s categorization framework or under longstanding principles of tort law

 that damages cannot be recovered in the absence of a symptomatic physical injury. First, the 27

 Tilt-Only Cases fail to raise a legally cognizable injury because tilt is not an injury—mere tilt of

 an IVC filter is, at best, a precursor to a potential future complication that may or may not

 materialize, which itself may or may not lead to symptomatic actual injuries. Such mere tilt is

 not a legally cognizable claim, as the Southern District of New York recognized in the Perez

 case. See Perez v. B. Braun Med., Inc., 2018 WL 2316334, at *5 (S.D.N.Y. May 9, 2018)

 (explaining that even if “accepting that the likely tilt is an actual tilt, no more is said about it than

 that it may lead to a series of actual injuries.”). Indeed, the Court’s categorization framework


 2
        Two cases that would otherwise be Tilt-Only Cases are included and counted among the
 Successfully Removed Filter Cases for purposes of this motion. Additionally, the McGee case is
 also part of Cook’s pending omnibus motion for summary judgment on statute of limitations
 grounds because it is time-barred based on its removal date. See Dkts. 11725-26.

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 itself recognizes that standalone tilt is not a legally cognizable injury and the categories adopted

 by the Court have no place for a claim of mere tilt.

         The ten Placement-Only Cases likewise fail to demonstrate a legally cognizable injury.

 Although these Plaintiffs allege in their categorization forms that they have experienced

 complications and/or injuries from their filters, they failed to submit supporting medical records

 that demonstrate anything more that the fact that they received Cook IVC filters that presumably

 remain in place.

         Finally, Plaintiffs in the nine Successfully Removed Filter Cases also fail to demonstrate

 any legally cognizable injury. On the contrary, the records they submitted show that their filters

 have been successfully removed without complication on the first routine, percutaneous removal

 attempt. As such, these are cases that should have categorized as Category 1 and would have

 been dismissed by the Court in May 2019. See Case Categorization and Screening Order, Dkt.

 9322 (ordering that Category 1 cases will be “subject to immediate dismissal”); Dkt. 10617

 (dismissing Category 1 Cases).

         Because these Plaintiffs’ non-tort claims also fail as a matter of law, Cook is entitled to

 summary judgment in these 46 cases.

                    STATEMENT OF UNDISPUTED MATERIAL FACTS

         1.     On October 2, 2018, the Court entered its Categorization and Screening Order,

 Dkt. 9322, ordering all MDL plaintiffs to categorize their cases in one of seven categories and to

 support those selections with specific medical records.

         2.     Through subsequent orders, the Court set deadlines (and later gave multiple

 extensions) and adopted the form that plaintiffs were required to use. See Orders, Dkts. 9638,

 9907 & 10617. In pertinent part, the Case Categorization Form (Dkt. 9638-1) stated that



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 “plaintiff[s] may select more than one of the seven categories outlined in the Categorization

 Form, with the understanding that only the ‘highest’ alleged category will be considered for

 purposes of the census ordered by the Court” and that “each category alleged requires a specific

 medical record.” See Dkt. 9638-1.

         3.     The Case Categorization Form further required that counsel certify that “the

 categorization is based on a review of the available medical records including imaging reports

 and records” and that “submission of the specific medical record(s) … are counsel’s certification

 that the outcome, complication, or injury represented in [the Form] is the proper categorization

 for Plaintiff’s case to the best of counsel’s knowledge and belief.” Id. at 4.

         4.     With respect to categories relevant to the motion here:

                a.      The Court did not create a category specific to tilt claims. Tilt is not

         mentioned as one of the applicable case types in the definition of Category 6 nor is it one

         of the various subcategories that are part of Category 7. See generally id.

                b.      Category 1 cases were defined as cases where the “IVC filter was

         successfully removed on the first, routine, percutaneous retrieval attempt and no physical

         symptom or filter complication was alleged during the time the filter was in place or in

         connection with the retrieval process.”    Case Categorization and Screening Order, Dkt.

         9322, p. 1-2. Such cases are “subject to immediate dismissal.” Id. at 3.

         5.     All Plaintiffs listed in Exhibit A have provided Categorization Forms and

 supporting records, and they are categorized in the census in Categories 6 and 7.3




 3
        The Court has confirmed that the information in the Case Categorization Forms and
 supporting records may be used for this limited purpose in motion practice. See Entry on the
 August 20, 2019 Status Conference, Dkt. 11602 (denying PSC’s motion to strike).

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         6.      Category 1 cases were subject to immediate dismissal under the Categorization

 and Screening Order and were subsequently dismissed (Dkt. 10588), and nearly all Category 2

 cases have also been dismissed as a result of voluntary dismissals and motion practice.

         7.      Due to the number of cases subject to this motion, the Cook Defendants have

 reviewed Plaintiffs’ short-form complaints, Categorization Forms, and supporting medical

 records, and summarized the relevant information from those materials in Exhibit A.4

         8.      Exhibit A provides the following information for all 46 Plaintiffs’ cases:

                 •    Plaintiff’s name;
                 •    Plaintiff’s case number;
                 •    Plaintiff’s home state (as denoted by the state of current residence alleged in
                      the Plaintiff’s complaint);
                 •    Plaintiff’s highest category in the census;
                 •    The case type grounds on which Cook seeks dismissal (i.e. status as a Tilt
                      Only, Placement Only, and/or Successfully Removed Filter Case); and
                 •    A short description and/or quote of the key language from the specific medical
                      record(s) submitted in support of those claims (the “Description in Record”
                      column).5
         9.      As summarized in the “Description in Record” column, each of the 46 Plaintiffs

 here has failed to submit a medical record in support of a legally cognizable injury. More

 specifically:

                 a.       Plaintiffs in the 27 Tilt-Only Cases have only submitted records

                         demonstrating that their filters have tilted;

 4
          See Fed. R. Evid. 1006 (permitting parties to submit evidence through summaries and
 charts when the information is otherwise cumbersome to present to the Court).
 5
          As this motion applies to 46 cases, it would have been impractical for the Cook Defendants to
 attach the Case Categorization Forms and supporting records submitted by all these Plaintiffs as part of
 the categorization process. Because these forms and records were submitted by Plaintiffs’ attorneys,
 Cook does not believe there will be any dispute as to their contents. To the extent there is any dispute,
 Cook will address those concerns on reply.

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                b.      Plaintiffs   in   the   ten   Placement-Only    Cases   submitted    records

                        demonstrating only that they received a filter that may still be in place;

                        and

                c.      Plaintiffs in the nine Successfully Removed Filter Cases have submitted

                        records that demonstrate that their filters were removed percutaneously on

                        the first attempt without issue, with no indication of any symptomatic

                        injury occurring while their filters were in place.

                                     STANDARD OF REVIEW

         “[S]ummary judgment procedure is governed by federal law” and “[f]ederal law defines

 the standard for evaluating the sufficiency of the evidence.” Maroules v. Jumbo, Inc., 452 F.3d

 639, 645 (7th Cir. 2006). “A district court should grant summary judgment only if the pleadings,

 depositions, answers to interrogatories, admissions, and affidavits ‘show that there is no genuine

 issue as to any material fact and that the moving party is entitled to a judgment as a matter of

 law.” Miller v. A.H. Robins Co., 766 F.2d 1102, 1104 (7th Cir. 1985) (quoting Fed. R. Civ. P. 56).

 In evaluating a motion for summary judgment, the court must view the facts and make all

 reasonable inferences that flow from them in a light most favorable to the non-moving party.

 Zillak v. AstraZeneca LP, 324 F.3d 518, 520 (7th Cir. 2003).

         The definition and scope of liability in tort are questions of state law and are governed by

 the applicable substantive law. Shady Grove Orthopedic Assocs., PA v. Allstate Ins. Co., 559

 U.S. 393, 417 (2010) (“It is a long-recognized principle that federal courts sitting in diversity

 apply state substantive law and federal procedural law.”).6



 6
        The Court need not conduct a complex choice-of-law analysis for each case because the
 outcome is the same under the laws of all the states whose laws could arguably apply. These 46
 cases are not legally cognizable under the law of any state because the Plaintiffs have not

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                                               ARGUMENT

 I.      Plaintiffs Fail to State Legally Cognizable Personal Injury Tort Claims Because
         They Have Not Suffered from Any Present Physical Injury.

         Plaintiffs’ personal injury tort claims (Counts I – IV) must be dismissed for failure to

 state legally cognizable injuries.       Under both longstanding tort law principles and modern

 precedent in medical product cases, including IVC filter cases, a plaintiff cannot sustain a claim

 for emotional distress damages for fear of future injury absent any present physical injury.

 Specifically:

         •      Plaintiffs in the Tilt Only and Placement-Only Cases have submitted records in

                support of categorization that only demonstrate that an IVC filter has been placed in

                their bodies and that it may have tilted, but mere tilt and/or general presence of a filter

                in a Plaintiff’s body is not a legally sufficient injury. Accordingly, Cook is entitled to

                summary judgment in these cases, under the same terms of dismissal that the Court

                has employed over the last several months for Category 2 cases, among others.

         •      Plaintiffs in the Successfully Removed Filter Cases have submitted records that (1)

                demonstrate that their filters have been successfully removed percutaneously on the

                first attempt and (2) there is no indication in the records submit that a symptomatic

                physical injury occurred while the filter was in their bodies or in connection with the

                retrieval process. As such, the Successful Removal Plaintiffs have not suffered any

                injury and their cases should be dismissed with prejudice. Indeed, they should have




 experienced any underlying physical injury. See e.g., Simon v. United States, 805 N.E.2d 798,
 801 (Ind. 2004) (explaining that the Court’s first step on a choice-of-law analysis is to determine
 if there is a “true conflict between the laws of the two states.”). Here, there may be immaterial
 nuanced differences in state law, but no “true conflict” because these would not be cognizable
 under Indiana law or the substantive laws of any of the states where they reside.

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                categorized their cases as Category 1, but they escaped immediate dismissal by

                incorrectly categorized their cases as a higher category.

         A.        Mere Tilt Is Not a Legally Cognizable Injury

         As the Court is aware from previous briefing and hearings, the Southern District of New

 York held last year that mere tilt of an IVC filter is not a legally sufficient injury. See

 Perez, 2018 WL 2316334. In Perez, the plaintiff received an IVC filter and alleged that a CT

 scan subsequently showed the filter was tilted. The plaintiff alleged pain and sought economic

 and psychological damages, as well as “substantial medical costs and expenses” for her care and

 treatment.      The plaintiff claimed various unspecified physical injuries: “sustained serious

 personal injuries,” “severe injuries,” “loss of enjoyment of life, disability, and other losses.” She

 also alleged she was at a greater risk of future injury because of the IVC filter. The defendants

 moved to dismiss, arguing that the complaint did not adequately allege that the plaintiff had

 presently suffered any cognizable injury. Id. at 3. The court granted the motion and dismissed

 the case, holding that “[a] threat of future harm is insufficient to impose liability against a

 defendant in a tort context.” Id. Addressing the tilt claims, the court said “as a characteristic

 throughout the complaint[], she assumes that the tilt is the injury. But, accepting that the

 likely tilt is an actual tilt, no more is said about it than that it may lead to a series of actual

 injuries.”7 Id. at 5 (emphasis added). In sum, the court held fear of injury and tilt are not

 cognizable injuries. Id.

         When the parties in this MDL briefed the contours of the categorization framework and

 current bellwether plan, Cook argued that cases involving mere tilt are among several distinct


 7
         As with the Perez case, it is questionable in at least some of the Tilt Cases whether those
 Plaintiffs could meet the medical definition of a tilt, because the general medical definition of tilt
 requires 15 or more degrees of lateral tilt and the descriptions summarized in Exhibit A note
 several cases where the alleged tilt was less than 15 degrees. See generally Exhibit A.

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 “no injury” case types that should be dismissed. In response, the PSC in their brief argued that

 tilt cases were potential injuries, tacitly acknowledging that mere filter tilt is not a present,

 physical injury. Notably, the PSC argued in their brief that “blood clots, numbness, shortness of

 breath, and the need for anticoagulation. . . . [constitute] a bodily injury,” but did not make that

 same argument for tilt or for successful removal cases. See Pls.’ Response to Cook Defs.’ Mot.

 for Screening Order and Bellwether Selection Plan, Dkt. 8591, p. 11. Instead, the PSC argued

 that “tilt is an early stage complication in the progressive IV [sic] filter injury process.” Id. But

 an alleged prerequisite to an undefined future injury is not a legally sufficient injury on its own

 accord.     See Perez, 2018 WL 2316334, at 5.         Moreover, although the PSC proposed six

 categories for classifying the MDL inventory, it did not propose any distinct category or

 subcategory for mere tilt cases. See Pls.’ Response to Cook Defs.’ Mot. for Screening Order and

 Bellwether Selection Plan, Dkt. 8591, p. 11. Accordingly, when the Court issued the Case

 Categorization and Screening Order (which includes some elements and definitions from both

 Cook’s and PSC’s proposals), the Court did not create a separate category or subcategory for

 mere tilt cases. See generally Case Categorization and Screening Orders, Dkt. 9322 (ordering

 categorization); Dkt. 9638 (adopting Case Categorization Form and specific requirements and

 instructions).

           As the Court has seen, mere tilt cases were primarily categorized as Category 2 (to the

 extent they categorized at all), and those cases were largely dismissed through a combination of

 voluntary dismissals and motion practice.8 Plaintiffs in the Tilt-Only Cases here, however,

 categorized their cases as Category 6 or Category 7, thus falling outside the ambit of earlier



 8
         Plaintiffs continue to categorize as Category 2 despite these dismissals, and Cook has
 raised that issue as part of a separate dispositive motion to dismiss 42 additional Category 2
 cases. See Dkt. 11687-88.

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 motion practice targeted at Category 2 cases. Review of these Plaintiffs’ Categorizations Forms

 and supporting medical records confirms that they are miscategorized, because tilt is not a

 recognized category under the categorization framework. Mere tilt is not recognized in any of

 the subcategories in Category 7, and Category 6 is reserved for “non-symptomatic filter

 movement, migration, penetration, perforation, thrombosis, occlusion or the presence of a clot in

 the filter that not produced physical symptoms or complications.” Id. Neither Category 6 nor

 Category 7 include tilt cases in their definitions. See id.

         In sum, the categorization framework adopted by the Court – with substantial input from

 the PSC regarding category types and definitions – provides no place for mere tilt cases, because

 mere tilt is not a legally cognizable injury, as explained by the Perez case. See Perez, 2018 WL

 2316334, at 5; Case Categorization and Screening Order, Dkt. 9322 (no category for tilt). The

 reasoning of the Perez court is a straightforward application of longstanding principles of tort

 law. See e.g., Prosser & Keeton, Torts § 30 at 165 (5th ed. 1984) (“The threat of future harm,

 not yet realized, is not enough.”); Restatement (Second) of Torts § 313 (1965) (“If the actor’s

 conduct is negligent as creating an unreasonable risk of causing either bodily harm or emotional

 disturbance to another, and it results in such emotional disturbance alone, without bodily harm or

 other compensable damages, the actor is not liable for such emotional disturbance”).9 Simply

 put, a tilted filter, without more, is not a physical injury to the Plaintiff because it does not


 9
          Of note, every jurisdiction in the country requires medical causation in medical product
 liability cases to be proven with expert testimony because of the complexity of the causation
 issues involved, even where an injury has clearly occurred and the material issues are product
 defect and causation. See Peter A. Meyer & Eldin Hasic, Oh Expert, Where Art Thou?, ABA
 Section of Litigation, Mass Torts (November 1, 2018), published online at
 https://www.americanbar.org/groups/litigation/committees/mass-torts/articles/2018/oh-expert-
 where-art-thou/ (50-state survey on expert testimony requirement regarding medical causation in
 complex medical device cases). Plaintiffs in the Tilt Only and Placement-Only Cases here lack a
 cognizable symptomatic physical injury, the prerequisite to even attempting to prove
 complicated medical causation issues.

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 “injure” the Plaintiff’s vena cava, even in the abstract sense. Indeed, if it did so, these Plaintiffs

 would have submitted records demonstrating conditions such as embedment or perforation and

 would have described their claims in the categorization forms accordingly.10

         In any event, Cook provided law from more than 20 states as part of its Category 2

 briefing demonstrating that physical injury is required to maintain a cause of action in tort, either

 generally or specifically in the medical product context. No Category 2 Plaintiff managed to

 contradict the case law Cook compiled to save their claim, and very few even tried. See Cook

 Defs.’ Memo. in Support of Judgment on the Pleadings in Category 2 Cases for Failure to State a

 Claim (“Cook’s Category 2 Brief”), Dkt. 10857, pp. 5-15. The case law cited in Cook’s

 Category 2 Brief covers most of the states in which these 46 Plaintiffs reside and demonstrates

 that Cook is entitled to summary judgment in these Tilt-Only Cases as a matter of law, without

 need to specifically address choice-of-law issues. See id.11 With respect to the five states where

 some of the Plaintiffs here reside that were not at issue in the Category 2 briefing, courts in four

 of those states have also confirmed that physical injury is a prerequisite to recovery in tort, and

 the fifth—Arkansas—does not recognize a cause of action for negligent infliction of emotional

 distress at all. See Mechs. Lumber Co. v. Smith, 752 S.W.2d 763, 765 (Ark. 1988) (“[A] claim of

 negligent infliction of emotional distress is not recognized in Arkansas.”); S. Ins. Co. Lowenberg


 10
         As the Court is aware, Cook’s position is that compensable injuries are limited to only
 certain subcategories of Category 7. The parties will address their disputes about Category 6 and
 other case types through the next round of bellwether trials and other motions.
 11
         Specifically, Cook’s Category 2 Brief provides case law from Indiana and 21 state and
 federal courts where these Plaintiffs reside. See Cook’s Category 2 Brief at 5-15 (citing and
 quoting case law from Arizona, California, Florida, Idaho, Maryland, Massachusetts, Michigan,
 Mississippi, Missouri, Nevada, New Jersey, New York, Ohio, Oklahoma, Oregon, Pennsylvania,
 Tennessee, Texas, Utah, Virginia and West Virginia. For California law, see also Khan v.
 Shiley, Inc., 217 Cal. App. 3d 848, 856 (Ca. Ct. App. 4th 1990) (“Contrary to plaintiffs’
 assertion, Khan is not the quintessential direct victim as contemplated by Molien. . . . Indeed,
 she has not yet been victimized. In the absence of product malfunction, Khan cannot establish
 defendants breached any duty owed to her.”).

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 v. CJG Enters., Inc., 2017 WL 3449610, *5 (S.D. Iowa May 12, 2017) (explaining that lack of

 personal injury or physical damage beyond the defective product itself can be fatal for tort claims

 . . . .”); Engler v. Ill. Farmers Ins. Co., 706 N.W.2d 764, 765 (Minn. 2005) (holding that

 demonstration of “severe emotional distress with attendant physical manifestations” is required

 under Minnesota law to recover for emotional distress damages); Strickland v. Madden, 448

 S.E.2d 581, 584 (S.C. Ct. App. 1994) (holding that plaintiff South Carolina law requires a

 “bodily injury [] proximately caused by [the plaintiff’s] emotional trauma [to] recover for such

 trauma as an element of damages.”); Corsi v. Farm, 2013 WL 11330880, *4 n.5 (D. Wy. Oct. 11,

 2013) (noting that Restatement (Second) of Torts requires showing of physical harm and

 suggesting its application in Wyoming).

         In sum, mere filter tilt is not a legally cognizable injury, and the Court should therefore

 dismiss all the personal injury tort claims alleged by Plaintiffs in the Tilt-Only Cases,

 specifically their Strict Liability claims (Counts I-II), their Negligence and Negligence Per Se

 claims (Counts III-IV), and their Wrongful Death and Survivorship (Counts X-XI) claims to the

 extent applicable.12

         B.     Plaintiffs’ Claims in Placement-Only Cases Fail as a Matter of Law.

         Like the Tilt-Only Plaintiffs, the Plaintiffs in the Placement-Only Cases cannot show that

 they have suffered any legally cognizable injuries. As set forth in the “Description of Record”

 12
         The Estate of Plaintiff Isiah County only categorized the case as a Category 6 tilt case,
 but they also submitted a death certificate listing PE as the cause of death without selecting
 Category 7j (death) or 7g (recurrent PE). See Exhibit A (table entry no. 39). Cook understands
 this categorization to mean the Estate of Plaintiff County is only pursuing the tilt claim and has
 therefore included the case in this motion. To the extent the Estate of Plaintiff County intended
 to pursue other claims, all claims would be time-barred because the Texas-issued certificate of
 death is dated June 12, 2012, but the case was not filed until October 5, 2018, over six years
 later. See Cook Defendants’ Memo. in Support of Their Renewed Omnibus Motion for
 Summary Judgment Based on the Applicable Statute of Limitations, Dkt. 11726 (analyzing
 choice-of-law and the two-year statute of limitations for tort claims in both Indiana and Texas,
 among other states).

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 column in Exhibit A, the Plaintiffs in the ten Placement-Only Cases have submitted records that

 demonstrate only that they received a Cook filter and that the filter presumably remains in place

 in their bodies. To the extent these Plaintiffs submitted any records in addition to the placement

 records, those records fail to establish that any legally cognizable physical injury occurred as a

 result of the filter. Without evidence of a legally cognizable bodily injury, these Plaintiffs’

 claims cannot proceed; a physical injury is required to anchor any claim of damages that they

 could pursue. See supra Section II.A. (incorporating by reference and citing case law from

 Indiana and Plaintiffs’ home states regarding the physical injury requirement).13

         The Placement-Only Plaintiffs allege various complications and injuries as part of their

 categorization forms, but allegations alone cannot suffice to meet the requirements of the Case

 Categorization and Screening Order and survive dismissal. In fact, the Case Categorization and

 Screening Order expressly required Plaintiffs to provide a “specific medical record” in support of

 each claimed injury.     See Case Categorization Form, Dkt. 9638-1, Instructions Nos. 2-3

 (explaining that plaintiffs may select multiple categories but “that each category alleged requires

 a specific medical record.”). By alleging injuries and complications in their categorizations

 forms but failing to support those allegations with any medical records demonstrating those

 sequalae, Plaintiffs in the Placement-Only Cases have not complied with the Case Categorization

 and Screening Order and have failed to demonstrate that any legally cognizable injury occurred

 in their cases.




 13
         Plaintiffs Cynthia Hall and Barbara Fuller submitted records of PE/DVT, but the
 description and date of service for those records demonstrate only that these two Plaintiffs
 received filters as part of their hospitalizations for PE, not that they experienced recurrent PE
 after filter placement. See Exhibit A (table entries nos. 17 & 43). For obvious reasons, an
 instance of PE that prompts the placement of the filter in the first place cannot be a “recurrent”
 instance of PE.

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         Accordingly, the Cook Defendants are entitled to summary judgment on the tort claims

 (Counts I-IV) in the Placement-Only Cases.

         C.     Cook Is Entitled to Dismissal With Prejudice Of the Tort Claims in the
                Successful Removal Cases.

         Under the terms of the Case Categorization and Screening Order, Category 1 cases were

 defined as cases where the “IVC filter was successfully removed on the first, routine,

 percutaneous retrieval attempt and no physical symptom or filter complication was alleged

 during the time the filter was in place or in connection with the retrieval process.” Dkt. 9322, p.

 1-2.    Such cases are “subject to immediate dismissal” under the Case Screening and

 Categorization Order, id. at 3, and they were dismissed by the Court in May 2019, see Dkt.

 10617 (order dismissing 27 Category 1 cases).           As part of their briefing regarding the

 categorization framework, the PSC conceded that these cases were “no injury”: “It is Plaintiffs’

 position that only cases falling within category 1 may fairly be considered non-injury cases.” See

 Pls.’ Response to Cook Defs.’ Mot. for Screening Order and Bellwether Selection Plan, Dkt.

 8591, p. 15 (emphasis in original).

         Here, the Plaintiffs in the nine Successful Removal Filter Cases categorized their cases as

 either Category 6 or 7, but review of the records they submitted in support of categorization

 shows that their filters were successfully removed. See Exhibit A. Moreover, there is no

 indication in the records submitted that these Plaintiffs suffered any symptomatic bodily injury

 attributable to the filter while their filters were in place or any injury as part of the routine and

 successful percutaneous removal. Simply put, there is no indication in any of the records they

 submitted in support of categorization that any legally cognizable injury occurred. In short, these

 nine Successfully Removal Filter Cases are miscategorized; they should have been categorized




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 as Category 1 pursuant to the Court’s Case Categorization and Screening Order and would have

 been dismissed with other Category 1 cases in May (see Dkt. 10617).

         Accordingly, Cook is entitled to summary judgment in the nine Successful Removal

 Cases, and the terms of dismissal should be with prejudice. No future injury can occur because

 the filters have been retrieved without issue.

 II.     Plaintiffs’ Non-Tort Claims Also Fail as a Matter of Law.

         Although Plaintiffs’ Master Complaint asserts and Plaintiffs’ short-form Complaints

 adopt some non-tort-based claims, those claims likewise fail as a matter of law.

         A.     Plaintiffs’ Express Warranty Claims Fails Because, as the Court Has
                Previously Ruled, the Master Complaint Fails to State Sufficient Allegations
                to Support This Claim.

         Plaintiffs’ express warranty claims (Count V) fail because neither the Master Complaint

 nor the short-form Complaint alleges any express warranties about the performance of Cook’s

 IVC filters.

         The Court has already addressed this issue in the context of Texas-based Plaintiff Emily

 Apple’s express warranty claim and held that the Master Complaint and that plaintiff’s short-

 form complaint failed to sustain a claim for express warranty, noting that “the omission of her

 specific warranty allegations is fatal.”    See Court’s Entry on Motion for Judgment on the

 Pleadings Based on the Statute of Repose, Dkt. 4918, pp. 13-14 (rejecting Plaintiff Apple’s

 express warranty arguments).       The Court also held that “even if she had included such

 allegations in her Short Form Complaint, her claim would not survive” because she failed to

 allege who made the alleged verbal warranty or claim that she relied on the Cook written

 materials. Id. In the Brand case, Plaintiff Brand did not even attempt to defend her express




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 warranty claim, and the Court readily granted Cook summary judgment on the claim. See Entry

 on Defendants’ Motion for Summary Judgment, Dkt. 9696, p. 2.

         Because the general assertions in the Master Complaint cannot sustain a claim for express

 warranty and, as far as Cook can determine, the 46 Plaintiffs here have not asserted case-specific

 express warranty allegations in their short-form complaints,14 Cook urges the Court to dismiss

 these Plaintiffs’ express-warranty claims.

         B.     Plaintiffs Cannot as a Matter of Law Establish Implied Warranty Claims,
                Either in Tort or in Contract.

         Cook is also entitled to dismissal of the Plaintiffs’ claims based on implied warranty

 (Count VI), whether those warranties are claimed to arise from tort or contract. To the extent

 they arise in tort, implied warranty claims fail for the same reasons as Plaintiffs’ other tort

 claims—the lack of any claim of physical injury, as discussed above. See, e.g., 2 Dan D. Dobbs,

 Paul T. Hayden, and Ellen M. Bublick, The Law of Torts § 390 (2d ed. 2018) (noting that no

 court has adopted a duty for an actor to exercise reasonable care where the actor’s conduct

 creates a risk of emotional harm); Prosser & Keeton, Torts § 30 at 165 (5th ed. 1984) (“The

 threat of future harm, not yet realized, is not enough.”); Perez, 2018 WL 2316334, at *5

 (explaining reasons underlying court’s dismissal plaintiff’s implied warranty claims in IVC filter

 case with no injury because “threat of future harm is ‘insufficient to impose liability’ because

 plaintiff ‘must sustain injury or damage before being able to recover’ to protect ‘court dockets

 from being clogged with frivolous and unfounded claims.”’) (quoting Caronia v. Phillip Morris,

 USA, Inc., 5 N.E.3d 11, 14 (N.Y. 2013)).


 14
         Cook notes that Plaintiff Apple attempted to support her express warranty claim against
 Cook’s motion by citing the Cook Patient Guide and an alleged oral warranty, but the Court
 nevertheless found her express warranty claim inadequate as plead. See Dkt. 4918 at 14-15.
 Here, the Plaintiffs do not allege even those insufficient grounds for an express warranty claim,
 and a fortiori fail as a matter of law.

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         On the contract side, any contractually based implied-warranty claim fails as a matter of

 law to the extent pursued by the Plaintiffs here because a plaintiff cannot recover emotional

 distress damages under contract law absent physical injury:

         The general rule is that damages “damages for mental anguish are limited to cases
         in which there has been a personal physical injury or where the defendant acted
         willfully, wantonly, recklessly or intentionally caused the mental anguish. Thus,
         recovery for mental anguish is not, as a general rule, allowed in actions for
         breach of contract; the courts evidently believe that the mental suffering which
         accompanies a breach of contract is too remote for compensation.”

 Maere v. Churchill, 452 N.E.2d 694, 697 (Ill. Ct. App. 1983) (quoting 22 Am. Jur. 2d, Damages,

 § 196 (2d Ed. 1965) (emphasis added); see also Fava v. Liberty Mut. Ins. Corp., 338 F. Supp. 3d

 1217, 1224 (D.N.M. 2018) (“Plaintiffs offer nothing to show that they can recover emotional

 distress damages as a category of consequential damages, nor do they offer any legal support for

 the recovery of emotional distress damages under a contract theory.”); Restatement (Second) of

 Contracts § 353 (1981) (“Recovery for emotional disturbance will be excluded unless the breach

 also caused bodily harm or the contract or the breach is of such a kind of serious emotional

 disturbance was a particularly likely result.”).

         C.     Plaintiffs’ Consumer Fraud Claims Fail Because They Are Not Plead With
                The Particularity Required By Federal Rule of Civil Procedure 9(b).

         Plaintiffs’ fraud-based consumer protection claims (Count VII) fail as a matter of law

 because Plaintiffs failed to plead them with the particularity required by Fed. R. Civ. P. 9(b).

 Federal case law makes clear that plaintiffs in federal court on diversity grounds must plead their

 fraud-based consumer-protection claims with particularity. That is, “when fraud is alleged, it

 must be done with particularity and plead the who, what, when, where, and how of the alleged

 fraud.” Uni*Quality, Inc. v. Infotronx, Inc., 974 F.2d 918, 923 (7th Cir. 1992); see also Pirelli

 Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Walgreen Co., 631 F.3d 436, 442 (7th Cir.



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 2011) (applying Rule 9’s particularity requirement to claim under Illinois Consumer Fraud and

 Deceptive Business Practices Act); In re Bridgestone/Firestone, Inc. Tires Prod. Liab. Litig., 155

 F. Supp. 2d 1069, 1109 (S.D. Ind. 2001) (dismissing claims under Michigan and Tennessee

 consumer protection statutes for failure to meet the heightened pleading requirements of Rule

 9(b), including failure to allege “individual reliance”). Federal district courts around the country

 impose the same requirement.15

         Here, Plaintiffs’ Master Complaint makes only the most general of allegations about

 Cook’s allegedly fraudulent conduct:

         Defendants misrepresented the alleged benefits and characteristics of Cook’s IVC
         Filters; suppressed, omitted, concealed, and failed to disclose material information
         concerning known adverse effects of Cook’s IVC Filters; misrepresented the
         quality and efficacy of Cook’s IVC Filters as compared to much lower-cost
         alternatives; misrepresented and advertised that Cook’s IVC Filters were of a
         particular standard, quality, or grade that they were not; misrepresented Cook’s
         IVC Filters in such a manner that later, on disclosure of the true facts, there was a
         likelihood that Plaintiffs would have opted for an alternative IVC Filter or method
         of preventing pulmonary emboli.

 Dkt. 213, ¶ 116. These allegations contain no allegations of the who, what, or how of the alleged

 misrepresentations, and thus fail to meet Rule 9’s particularity requirement.               None of the

 Plaintiffs’ short-form complaints provides any additional or more specific allegations; they


 15
         See, e.g., Holmes v. Behr Process Corp., 2015 WL 7252662, at *2 (N.D. Ala. Nov. 17, 2015);
 Gibson v. Credit Suisse AG, 2012 WL 1253007, at *2 (D. Idaho Mar. 30, 2012); Tuttle v. Treasure Valley
 Marine, Inc., 2016 WL, 3198230, at *2 (D. Idaho June 8, 2016) (“As discussed above, allegations
 involving fraud, such as this [Idaho Consumer Protection Act claim], must be accompanied by the ‘who,
 what, when, where, and how’ of the misconduct charged.”); Home Owners Ins. Co. v. ADT LLC, 109 F.
 Supp. 3d 1000, 1009 (E.D. Mich. 2015) (“Because Plaintiff’s claim for violation of the MCPA does not
 meet Rule 9(b)'s heightened pleading requirements, this claim will be dismissed.”); Peacock v. AARP,
 Inc., 181 F. Supp. 3d 430, 435 (S.D. Tex. 2016) (“Claims alleging violations of the Texas Insurance Code
 and the DTPA and those asserting fraud, fraudulent inducement, fraudulent concealment, and negligent
 misrepresentation are subject to the requirements of Rule 9(b)”) (citing Frith v. Guardian Life Ins. Co. of
 Am., 9 F. Supp. 2d 734, 742 (S.D.Tex.1998)); BHR Recovery Communities, Inc. v. Top Seek, LLC, 355 F.
 Supp. 3d 416, 424 (E.D. Va. 2018) (“As a claim sounding in fraud, Federal Rule of Civil Procedure
 9(b) requires plaintiffs to plead VCPA claims with particularity.”).


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 simply adopt the Master Complaint’s vague allegations. Because Plaintiffs have offered only

 vague, general allegations in support of their consumer fraud claims, those claims fail as a matter

 of law, and the Court should grant summary judgment in Cook’s favor on these claims. See

 Holmes, 2015 WL 7252662, at *2; Gibson, 2012 WL 1253007, at *2; Tuttle, 2016 WL, 3198230,

 at *2; Home Owners Ins. Co., 109 F. Supp. 3d at 1009; Peacock, 181 F. Supp. 3d at 435; BHR

 Recovery Communities, Inc., 355 F. Supp. 3d at 424.

         D.     Plaintiffs’ Derivative Claims for Loss of Consortium and Punitive Damages
                Fail Because They Cannot Stand on Their Own.

         Finally, Plaintiffs’ claims for loss of consortium (Count VIII) and punitive damages

 (Count XI) fail as a matter of law because they are derivative claims that cannot stand on their

 own. “[A] cause of action for loss of consortium derives its viability from the validity of the

 claim of the injured spouse against the wrongdoer.” Miller v. Cent. Indiana Cmty. Found., Inc.,

 11 N.E.3d 944, 963 (Ind. Ct. App. 2014) (quoting Bd. of Comm'rs of Cass Cnty. v. Nevitt, 448

 N.E.2d 333, 341 (Ind.Ct.App.1983)).        See also Flying J Fish Farm v. Peoples Bank of

 Greensboro, 12 So. 3d 1185, 1196 (Ala. 2008) (“A loss-of-consortium claim is derivative of the

 claims of the injured spouse. Therefore, [the wife’s] claim must fail if [the husband’s] claims

 fail.”); Runcorn v. Shearer Lumber Prods., Inc., 690 P.2d 324, 329 (Idaho 1984) (“The claim for

 loss of consortium is a wholly derivative cause of action contingent upon a third party’s tortious

 injury to a spouse.”); DeGrate v. Exec. Imprints, Inc., 261 S.W.3d 402, 412 (Tex. Ct. App. –

 Tyler Div. 2008) (“When a loss of consortium is derived from an injury to the spouse, the claim

 is derivative and thus, must fail if the injured spouse’s claims against the defendant fails.”);

 Benavides v. Cty. of Wilson, 955 F.2d 968, 975 (5th Cir. 1992) (finding that summary judgment

 against non-derivative claim also barred the derivative loss of consortium claim).




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         In the MDL context, the District of Minnesota dismissed loss of consortium claims as

 derivative when it dismissed the entire master complaint in an MDL involving a PMA device due

 to federal preemption:

         Claims such as loss of consortium … do not appear to fit neatly into any of the
         aforementioned categories. Nevertheless, the Court agrees with Medtronic that
         any claims in the Complaint not addressed above are derivative of Plaintiffs’ other
         claims and hence cannot stand.

 In re Medtronic, Inc. Sprint Fidelis Leads Prod. Liab. Litig., 592 F. Supp. 2d 1147, 1165 (D.

 Minn. 2009), aff’d, 623 F.3d 1200 (8th Cir. 2010).

         Here, as discussed above, all of the Plaintiffs’ substantive claims fail as a matter of law,

 and the derivative loss of consortium and punitive damages claims fail along with those

 substantive claims. See e.g., Flying J Fish Farm, 12 So. 3d at 1196; Runcorn, 690 P.2d at 353;

 DeGrate, 261 S.W.3d at 412; Benavides, 955 F.2d at 975; In re Sprint Fidelis Leads, 592 F.

 Supp. 2d at 1165. Accordingly, the Cook Defendants are also entitled to summary judgment on

 these derivative claims.

                                          CONCLUSION

         For the foregoing reasons, the Cook Defendants are entitled to summary judgment on the

 claims brought by these 46 Plaintiffs. The terms of dismissal should be the same as those

 recently used for the dismissal of Category 1 and Category 2 cases:

         (1)    In the nine Successfully Removed Filter Cases, the dismissal should be with

 prejudice.

         (2)    In the 27 Tilt Only and ten Placement-Only Cases where it appears that the filter

 remains placed in the Plaintiff’s body, the dismissal should be with prejudice as to all claims,

 injuries, complications, and outcomes alleged in Plaintiffs’ short-form complaints, PPS forms,

 and Categorization Forms to date. With respect to re-filing in the event of a future injury, the


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 Court should allow re-filing only in the Southern District of Indiana within the applicable statute

 of limitations period.

                                              Respectfully Submitted,




 Dated: October 1, 2019                       /s/ Andrea Roberts Pierson
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 1, 2019, a copy of the foregoing COOK

 DEFENDANTS’ MEMORANDUM IN SUPPORT OF OMNIBUS MOTION FOR

 SUMMARY JUDGMENT IN 46 MISCATEGORIZED NO INJURY CASES was filed

 electronically, and notice of the filing of this document will be sent to all parties by operation of

 the Court’s electronic filing system to CM/ECF participants registered to receive service in this

 matter. Parties may access this filing through the Court’s system.




                                                         /s/ Andrea Roberts Pierson




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